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     Attorney for Defendant
4    IRIS LAI HUNG TAM
5
6
7                         UNITED STATES DISTRICT COURT
8                      NORTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                 CR 05-00375
11               Plaintiff,
                                               STIPULATION AND PROPOSED
12          v.                                 ORDER TO TAKE MOTION TO
                                               MODIFY BAIL CONDITIONS OFF
13   IRIS LAI HUNG TAM,                        CALENDER
14              Defendant.
     ______________________________/
15
16          THE PARTIES HEREBY STIPULATE AND AGREE to take the motion
17   to modify bail conditions, pending before the Honorable Judge
18   Nandor Vadas, off calender without prejudice, to recalendar at a
19   later date if necessary, predicated upon the parties joint desire
20   to reach resolution of these issues informally.
21          Dated:   August 21, 2006
22
23   /s/ SHARI L. GREENBERGER                /s/ ANDY SCOBLE
     SHARI L. GREENBERGER                   ANDY SCOBLE
24   Attorney for Defendant                 Assistant U.S. Attorney
     IRIS LAI HUNG TAM                      Dated: 8/21/06
25
                                 PROPOSED ORDER
26
            IT IS SO ORDERED: 8/22/06
27
28
                                            JUDGE NANDOR VADAS
                                            U.S. DISTRICT COURT JUDGE
